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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                                       ORDER
                                                         Crim. No. 09‐298(15)
Timothy Williams,

      Defendant.
_____________________________________________________________________

      This matter is before the Court on the Defendant’s pro se motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2).

      The Defendant seeks a sentence reduction based on the Amendment 782 to

the Sentencing Guidelines which lowered the drug quantity base offense levels

applicable to certain drug offenses. The Defendant is not eligible for a sentence

reduction, however, as he was sentenced to the ten year mandatory minimum

sentence required under 21 U.S.C. § 841(b)(1)(A) and Amendment 782 did not

alter the applicable guideline range for cases involving a statutory minimum

sentence.

      IT IS HEREBY ORDERED that Defendant’s Motion for Sentence Reduction

[Doc. No. 740] is DENIED.

Date: June 24, 2015             s/ Michael J. Davis
                                Chief Judge Michael J. Davis
                                United States District Court
